         Case 3:16-cv-30008-NMG
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                United States Court of Appeals
                                 For the First Circuit
                                      _____________________

 No.    19-1291
                                         LEE HUTCHINS

                                        Plaintiff - Appellee

                                                 v.

         DANIEL J. MCKAY; FELIX M. ROMERO; THOMAS HERVIEUX; CITY OF
                                 SPRINGFIELD

                                      Defendants - Appellants
                                      __________________

                                          JUDGMENT

                                     Entered: June 26, 2019
                                  Pursuant to 1st Cir. R. 27.0(d)

          Upon consideration of the parties' joint motion, it is hereby ordered that this appeal be
 voluntarily dismissed pursuant to Fed. R. App. P. 42(b).

        Mandate to issue forthwith.


                                                      By the Court:

                                                      Maria R. Hamilton, Clerk


 cc:
 Kathleen E. Sheehan
 Lisa Caryl deSousa
 Kevin Barry Coyle
 David P. Hoose
 Luke S. Ryan
